           Case 18-01171-JDP                         Doc 31          Filed 09/20/18 Entered 09/20/18 18:41:43                       Desc Main
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 Fill in this information to identify your case:

 Debtor 1            Vernon Kenneth Smith, Jr.

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of Idaho

 Case number         18-01171                                                                       Check if this is an amended filing
 (if known)


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                     12/15

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate
sheet to this form. Include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


           Not married. Fill out Column A, lines 2-11.

           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
    you have nothing to report for any line, write $0 in the space.
                                                                                                Column A                Column B
                                                                                                Debtor 1                Debtor 2

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                          0.00     $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                     $              0.00     $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                      0.00     $
  5. Net income from operating a
     business, profession, or farm                Debtor 1               Debtor 2
       Gross receipts (before all deductions)                           $     0.00
       Ordinary and necessary operating expenses                        -$    0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $              0.00     $
  6. Net income from rental and
     other real property                          Debtor 1               Debtor 2
       Gross receipts (before all deductions)                           $     0.00
       Ordinary and necessary operating expenses                        -$    0.00
       Net monthly income from rental or other real property            $     0.00 Copy here -> $              0.00     $




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                                                                                                 Column A                     Column B
                                                                                                 Debtor 1                     Debtor 2

                                                                                                 $                  0.00      $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                   $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                   0.00
            For your spouse                                           $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                      $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism.
       If necessary, list other sources on a separate page and put the total below.
                                                                                                 $                            $
                                                                                                 $                  0.00      $
                  Total amounts from separate pages, if any.                                 +   $                  0.00      $

  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.                        $             0.00       +   $                  =   $         0.00




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 Part 2:       Sign Below

             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            X /s/ Vernon Kenneth Smith, Jr.
                Vernon Kenneth Smith, Jr.
                Signature of Debtor 1

        Date September 20, 2018
             MM / DD / YYYY




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